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                                                         Brooke C. Wells
                                                         U.S. Magistrate Judge




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